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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT TACOMA
 9
      UNITED STATES OF AMERICA
10
                          Plaintiff,                      CASE NO CR05-5747RBL
11
             v.                                            ORDER
12
      STACY CHARLES COMER,
13
                          Defendant.
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15
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             THIS MATTER comes on before the above-entitled Court upon a Motion for a New
17
     Attorney (dkt #149). The Court having considered the entirely of the records and file herein,
18   it is now
19
           ORDERED that Defendant’s Motion is GRANTED. The CJA Administrator is directed
20
     to appoint new counsel for Mr. Comer.
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22         IT IS SO ORDERED this 28th day of August, 2006.

23
24
                                               A
                                               RONALD B. LEIGHTON
                                               UNITED STATES DISTRICT JUDGE
25                                             Digitally Signed upon oral authorization (JAB)

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